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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 WEST FLAGLER ASSOCIATES, LTD., a
 Florida Limited Partnership d/b/a MAGIC
 CITY CASINO,

 BONITA-FORT MYERS CORPORATION,
 a Florida Corporation d/b/a BONITA
 SPRINGS POKER ROOM,

                Plaintiffs,

 v.                                                     Civil Action No. 1:21-cv-02192-DLF

 DEB HAALAND, in her official capacity as
 SECRETARY OF THE UNITED STATES
 DEPARTMENT OF THE INTERIOR,

 UNITED STATES DEPARTMENT OF
 THE INTERIOR,

                Defendants.



              [PROPOSED] ORDER GRANTING STAY PENDING APPEAL

       Upon consideration of the Seminole Tribe of Florida’s Motion for Stay Pending Appeal

and Motion for Expedited Consideration, and the entire record herein, it is hereby:

       ORDERED that the Court’s November 22, 2021 Order, ECF No. 42, and Memorandum

Opinion, ECF No. 43, granting Plaintiffs’ Motion for Summary Judgment, denying Federal

Defendants’ Motion to Dismiss, and denying as moot the Seminole Tribe of Florida’s Motion for

Limited Intervention are stayed pending final appeal of the November 22, 2021 Order and

Memorandum Opinion.

Dated: _______________                              __________________________
                                                    The Honorable Dabney L. Friedrich
                                                    United States District Court Judge


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Persons entitled to be served:

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